Case 2:04-cr-20310-SH|\/| Document 54 Filed 05/19/05 Page 1 of 2 Page|D 61

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT 0F TENNESSE§§ 153 §§ g

 

    

 

WESTERN DIVISION

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UNITED STATES OF AMERICA,

vs. No. 04-20310_1\,1@l

MAJOR GRUBBS,

D@f€rldant_

 

ORDER GRANTTNG MOTION TO CONTTNUE SUPPRESSION HEARING

 

Before the court is the May 17, 2005, motion of defendant Maj or Grubbs to continue
the suppression hearing set for May 20, 2005. For good cause shown, the motion is granted. The
hearing on the motion to suppress is reset for Thursday, June 9, 2005 at 2:00 p.m.

IT ls so oRDERED this the l sh\day OfMay, 2005.

JA(//M,F\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 54 in
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David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Lee Howard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

Memphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

